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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF GEORGIA
                             AUGUSTA DIVISION



UNITED STATES OF AMERICA

                                                              CR 1:15-077

MELVIN HOWARD




                ORDER ON MOTION FOR LEAVE OF ABSENCE



      Keith B. Johnson having made application to the Court for a leave of absence,

and it being evident from the application that the provisions of Local Rule 83.9 have

been complied with, and no objections having been received;

      IT IS HEREBY ORDERED THAT Keith B. Johnson be granted leave of

absence for the following periods: June 16, 2016 through June 17, 2016; August

5, 2016 through August 12, 2016; August 25, 2016 through August 29, 2016;

October 26, 2016 through October 28, 2016; November 21, 2016 through

November 28, 2016; December 19, 2016 through December 30, 2016;

January 2, 2017 through January 6, 2017.
             >n*2,
      This ^S day ofJune, 2016.




                                       HONOfeABflJBa RANDAL HALL
                                        United Stages District Judge
                                                  )istrict of Georgia
